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Tiwieeon, Oma mrad Mram, on
UNITED STATES DISTRICT COURT
Northen District of New York
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vz.
USM Number: 13990-052
Timothy Austin, Esq.
Federal Public Defender
Defendant’s Attorney
THE DEFENDANT:
[=] pleaded guilty to count(s} Count I of Information 06-CR-457
] pleaded nolo contendere to count(s)
which was accepted by the court.
[i was found guilty on count(s)
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
8 U.S.C. § 1325(a)(1) Unlawful entry into the United States 11/06/2006 I
The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed in accordance
with 18 U.S.C. § 3553 and the Sentencing Guidelines.
C) The defendant has been found not guilty on count(s)
i Count(s) CJ is (©) are dismissed on the motion of the United States.

 

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It is ordered that the defendant must notify the United States attorney for this dist trict within 30 days sof any change of name, res idence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are IY Pai - Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes i in economic circumstances

ARR Ned Re A,

November 22, 2006
Date of Imposition of Judgment

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Case 1:06-cr-00457-RFT Document 7 Filed 11/27/06 Page 2 of 4

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AQ 245B  NNY(Rev. 10/05) Judgment in a Criminal Case
Sheet 2 — Imprisonment

Judgment — Page 2 of

DEFENDANT: Robert Bouthillier
CASE NUMBER: 06-CR-457 RFT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

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Li The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

The defendant shali surrender to the United States Marshal for this district:

fl] at Pio am. CO p.m. on

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[} The defendant shali surrender for service of sentence at the institution designated by the Bureau of Prisons:

[] before 2 p.m. on

 

as notified by the United States Marshal.

[J as notified by the Probation or Pretrial Services Office.

 

 

 

AG AUR
T have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
Case 1:06-cr-00457-RFT Document 7 Filed 11/27/06 Page 3 of 4

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SUNT UREY, 1s; SUG RMent in a Criminal Case

Sheet 5 — Criminal Monetary Penalties
Judgment — Page 3 of 4

 

 

 

DEFENDANT: Robert Bouthillier
CASE NUMBER: 06-CR-457 RFT
CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
Assessment ‘ine Restitution
TOTALS $ 18.06 3 $
[] The determination of restitution is deferred until - An Amended Judgment in a Criminal Case (AO 245C) will
be entered after such determination.
(J The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall | receive an approxima imately ‘proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U\S.C. § 3664(1), all nonfederai victims must be paid
before the United States is paid.
Name of Payee Total Loss* Restitution Ordered
TOTALS $ $ 7
[] Restitution amount ordered pursuant to plea agreement $
oO The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the fifteenth
day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(f). All of the payment options on Sheet 6 may be subject to penalties for
elinquency and default, pursuant to 18 U.S.C. § 3612(g)
[] The court determined that the defendant does not have the ability to pay interest and it is ordered that

O
L] the interest requirement forthe ( fine (J restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
Case 1:06-cr-00457-RFT Document 7 Filed 11/27/06 Page 4 of 4

AO 245B NNYiReyv. 10/087 Ju iminal Case

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Sheet 6 — Schedule of Payments

Judgment —- Page 4 of 4

 

DEFENDANT: Robert Bouthilli

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CASE NUMBER: 06-CR-457 RFT

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SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:
A [1 In full immediately; or
B £) Lump sum payment of $ due immediately, balance due

C1 not later than 58

O inaccordancewith O D, OF EF J Eor CO G below; or

 

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C (© Payment to begin immediately (may be combined with [] D, [1 E, or [1] G below); or

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e.g., weekly, monthly, quarter] allmenis of $

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Payment in equ

ment in eq over a period of
(e.g., months or years

, to commence (e.g., 30 or 60 days) after the date of this judgment; or

f
— om,

 

E (] Paymentinequal _ (e.g., weekly, monthly, quarterly) installments of $ over a period
{e.g., months or years), to commence (c.g., 30 or 60 days) after release from imprisonmen
f supervision; or

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F  [) Payment during the term of supervised release will commence within

 

(e.g., 30 or 66 days) after release from
d

imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
G  [®} Special instructions regarding the payment of criminal monetary penalties:
Special Assessment of $10.00 is deemed remitted due to defendant’s financial situation.

Uniess the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to Lawrence K. Baerman, Clerk, U.S. District Court, Federal Bldg., P.O. Box 7367, 100 S. Clinton
Street, Syracuse, N.Y. 13261-7367, unless otherwise directed by the court, the probation officer, or the United States attorney. If a victim
cannot be located, the restitution paid to the Clerk of the Court for that victim shall be sent to the Treasury, to be retrieved if and when the victim
18 located.

The defendant shail receive credit for all payments previously made toward any criminal monetary penalties imposed,

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Lt Hit and severas

C1 Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
corresponding payee, if appropriate.

[] The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or part
of the restitution ordered herein and may order such payment in the future.

C] The defendant shail pay the cost of prosecution.

L] The defendant shall pay the following court cost(s):

(J The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shal! be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,(5} fine

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interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court c

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